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                                                                                                                 Last revised 12/1/11




                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF NEW JERSEY
In Re:                                                                           Case No.:               13-17279
                                                                                                   ____________________
  Vincent P Tonetta
                                                                                 Judge:            ____________________

                                                                                 Chapter:                       13

                           Debtor(s)

Chapter 13 Plan and Motions
         ✔ Original
         “                                   “ Modified/Notice Required                            “ Discharge Sought
         “ Motions Included                  “ Modified/No Notice Required                         “ No Discharge Sought

Date:    4/4/2013
         ____________________

                                       THE DEBTOR HAS FILED FOR RELIEF UNDER
                                        CHAPTER 13 OF THE BANKRUPTCY CODE

                                              YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. This Plan may be confirmed and
become binding, and included motions may be granted without further notice or hearing, unless written objection is filed
before the deadline stated in the Notice.

                         YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                          IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                       THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

 Part 1:     Payment and Length of Plan

                                       115.00
        a. The debtor shall pay $ _______________          month
                                                  per _______________ to the Chapter 13 Trustee, starting on
          May 1,2013
  _________________________                         60
                            for approximately _______________ months.

        b. The debtor shall make plan payments to the Trustee from the following sources:

              “    Future earnings

              “    Other sources of funding (describe source, amount and date when funds are available):
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      c. Use of real property to satisfy plan obligations:

           “ Sale of real property
             Description:



              Proposed date for completion: ____________________

           “ Refinance of real property:

              Description:



              Proposed date for completion: ____________________

           “ Loan modification with respect to mortgage encumbering property:

              Description:



              Proposed date for completion: ____________________

      d. “ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

      e. “ Other information that may be important relating to the payment and length of plan:




Part 2:     Adequate Protection

      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter 13
Trustee and disbursed pre-confirmation to ______________________________ (creditor).

      b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: ______________________________ (creditor).

Part 3:     Priority Claims (Including Administrative Expenses)

      All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                   Type of Priority                           Amount to be Paid

Trustee                                    Administrative                             10% of payments

Terry Tucker, Esq. (attorney for           Administrative-counsel fee paid inside     $3,100.00
debtor)                                    of plan

City Of Vineland                           property tax                               $2,500.00




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Part 4:    Secured Claims


      a. Curing Default and Maintaining Payments
      The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:


Creditor             Collateral or        Arrearage                Interest Rate on   Amount to be          Regular Monthly
                     Type of Debt                                  Arrearage          Paid to Creditor      Payment
                                                                                      (In Plan)             (Outside Plan)




      b. Modification
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                            NOTE: A modification under this Section ALSO REQUIRES
                           the appropriate motion to be filed under Section 7 of the Plan.



Creditor            Collateral   Scheduled        Total              Superior Liens    Value of          Annual     Total
                                 Debt             Collateral                           Creditor          Interest   Amount
                                                  Value                                Interest in       Rate       to be
                                                                                       Collateral                   Paid




      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.




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      c. Surrender
       Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following
collateral:


Creditor                                     Collateral to be Surrendered     Value of Surrendered    Remaining
                                                                              Collateral              Unsecured Debt




      d. Secured Claims Unaffected by the Plan
           The following secured claims are unaffected by the Plan:

      Champion Mortgage-reverse mortgage


      e. Secured Claims to be Paid in Full Through the Plan:

Creditor                                     Collateral                                   Total Amount to be
                                                                                          Paid Through the Plan




Part 5:    Unsecured Claims

      a. Not separately classified allowed non-priority unsecured claims shall be paid:
           ✔ Not less than $ _______________
           “                      600.00     to be distributed pro rata
           “ Not less than _______________ percent
           “ Pro Rata distribution from any remaining funds

     b. Separately classified unsecured claims shall be treated as follows:

Creditor                            Basis For Separate Classification     Treatment                  Amount to be Paid




                                                              4
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Part 6:    Executory Contracts and Unexpired Leases

      All executory contracts and unexpired leases are rejected, except the following, which are assumed:

Creditor                                 Nature of Contract or Lease            Treatment by Debtor

                                                                                assume




Part 7:    Motions


NOTE: All plans containing motions must be served on all potentially affected creditors, together with a
Chapter 13 Plan Transmittal Letter, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Proof of
Service must be filed with the Clerk of Court when the Plan and Transmittal Letter are served.

Where a motion to avoid liens or partially avoid liens has been filed in the plan, a proof of claim filed that
asserts a secured claim that is greater than the amount to be paid in the plan serves as opposition to the
motion, and serves as an objection to confirmation. The proof of claim shall be served in accordance with
D.N.J. LBR 3015-6(a). The creditor shall file a proof of service prior to the scheduled confirmation hearing. In
order to prosecute the objection, the creditor must appear at the confirmation hearing, which shall be the
hearing on the motion. Failure to appear to prosecute the objection may result in the motion being granted and
the plan being confirmed pursuant to the terms as set forth in the plan.


      a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).

      The Debtor moves to avoid the following liens that impair exemptions:

Creditor                Nature of      Type of      Amount of    Value of      Amount of      Sum of All    Amount of
                        Collateral     Lien         Lien         Collateral    Claimed        Other         Lien to be
                                                                               Exemption      Liens         Avoided
                                                                                              Against the
                                                                                              Property




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      b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured.

      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor                        Collateral                      Amount of Lien
                                                                to be Reclassified




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured.
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void liens
on collateral consistent with Part 4 above:

Creditor                        Collateral                      Amount to be                  Amount to be
                                                                Deemed Secured                Reclassified as Unsecured




Part 8:    Other Plan Provisions

      a. Vesting of Property of the Estate
           “   Upon confirmation
           “   Upon discharge

      b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

       c. Order of Distribution
       The Trustee shall pay allowed claims in the following order:
           1) Trustee commissions
              Attorney Fees
           2) ___________________________________________________________
              Priority Claims
           3) ___________________________________________________________
              Secured Claims
           4) ___________________________________________________________

       d. Post-Petition Claims
      The Trustee “ is, “✔ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in
the amount filed by the post-petition claimant.


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Part 9:    Modification

      If this Plan modifies a Plan previously filed in this case, complete the information below.

      Date of Plan being Modified: _________________________

Explain below why the plan is being modified:                     Explain below how the plan is being modified:




      Are Schedules I and J being filed simultaneously with this Modified Plan?          “ Yes         “ No

Part 10:    Sign Here


      The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.



             4/4/2013
      Date: ______________________________                             /s/Terry Tucker
                                                                       ______________________________
                                                                       Attorney for the Debtor


      I certify under penalty of perjury that the foregoing is true and correct.


              4/4/2013
      Date: ______________________________                              /s/Vincent Tonetta
                                                                        ______________________________
                                                                        Debtor


      Date: ______________________________                              /s/
                                                                        ______________________________
                                                                        Joint Debtor




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